                                                                                                                                       Case 1:04-cv-05278-OWW-DLB Document 202 Filed 01/13/06 Page 1 of 2


                                                                                                                                   1    MICHAEL J. COFFINO (State Bar No. 88109)
                                                                                                                                        ANN M. HEIMBERGER (State Bar No. 197060)
                                                                                                                                   2    STEEFEL, LEVITT & WEISS
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                                                                                                                                   5

                                                                                                                                   6    Attorneys for Plaintiffs
                                                                                                                                        WAL-MART STORES, INC. and WAL-MART REAL
                                                                                                                                   7    ESTATE BUSINESS TRUST

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                                                             ONE EMBARCADERO CENTER · 30TH FLOOR · SAN FRANCISCO, CA 94111-3719




                                                                                                                                                                      UNITED STATES DISTRICT COURT
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                                                                                                                                                                  EASTERN DISTRICT OF CALIFORNIA
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                                                                                                                                                                            FRESNO DIVISION
                                                                       Telephone: (415) 788-0900 · Facsimile: (415) 788-2019




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STEEFEL, LEVITT & WEISS




                                                                                                                                  12    WAL-MART STORES, INC., a Delaware          Case No. F-04-5278 OWW DLB
                                                                                                                                        corporation, and WAL-MART REAL
                                                                                                                                  13    ESTATE BUSINESS TRUST, a Delaware          ORDER TO EXTEND EXPERT
                          A P ROFES S I ON A L C ORP ORA TI ON




                                                                                                                                        statutory trust,                           DISCOVERY DEADLINE
                                                                                                                                  14
                                                                                                                                                        Plaintiffs,                 Order filed concurrently
                                                                                                                                  15
                                                                                                                                              v.                                   Judge:       Hon. Oliver W. Wanger
                                                                                                                                  16
                                                                                                                                        CITY OF TURLOCK, TURLOCK CITY
                                                                                                                                  17    COUNCIL, and DOES 1 through 10,
                                                                                                                                        inclusive,
                                                                                                                                  18
                                                                                                                                                        Defendants.
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                                                                                                                                        STIPULATION TO EXTEND EXPERT DISCOVERY DEADLINE (No. F-04-5278 OWW DLB)         1
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                                                                                                                                   1                                                  ORDER

                                                                                                                                   2                    PURSUANT TO STIPULATION, IT IS SO ORDERED that

                                                                                                                                   3                    1.     The last day for the parties to complete all expert discovery shall be

                                                                                                                                   4    February 8, 2006.

                                                                                                                                   5                    2.     Entering into this Stipulation and [Proposed] Order shall not prejudice any

                                                                                                                                   6    of the parties from later requesting an extension of such dates.

                                                                                                                                   7

                                                                                                                                   8    DATED: January _12___, 2006
                                                             ONE EMBARCADERO CENTER · 30TH FLOOR · SAN FRANCISCO, CA 94111-3719




                                                                                                                                                                                             /s/ OLIVER W. WANGER
                                                                                                                                   9
                                                                                                                                                                                               The Honorable Oliver W. Wanger
                                                                                                                                  10                                                           United States District Judge
                                                                       Telephone: (415) 788-0900 · Facsimile: (415) 788-2019




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STEEFEL, LEVITT & WEISS




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                                                                                                                                        STIPULATION TO EXTEND EXPERT DISCOVERY DEADLINE (No. F-04-5278 OWW DLB)                         2
